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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


THOMAS SCHANSMAN et al.,

                                    Plaintiffs,                19 Civ. 2985 (ALC)(GWG)
       - against -

                                                               NOTICE OF MOTION
SBERBANK OF RUSSIA PJSC et al.,
                                                               ORAL ARGUMENT
                                    Defendants.                REQUESTED




               PLEASE TAKE NOTICE that upon the annexed Declaration of Andrey S.

Puchkov, dated September 19, 2019, and the accompanying Memorandum of Law, the

undersigned hereby moves this Court on behalf of Defendant VTB Bank PJSC before the

Honorable Andrew L. Carter, Jr., in Courtroom 1306 of the United States District Court for the

Southern District of New York, 40 Foley Square, New York, New York 10007, for an order

dismissing the complaint pursuant to Rule 12 of the Federal Rules of Civil Procedure and

granting such other and further relief as the Court may deem just and proper.

               PLEASE TAKE FURTHER NOTICE that pursuant to the Order entered August

13, 2019, opposition papers are to be served by October 17, 2019 and reply papers are to be

served by October 31, 2019.
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Dated:     September 19, 2019
           New York, New York
                                     Respectfully submitted,

                                     LATHAM & WATKINS LLP



                                     By: /s/ Christopher Harris
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                                         VTB Bank PJSC




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